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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      (Miami Division)

                               Case No. 17-CR-20796-KMM/Becerra


  UNITED STATES OF AMERICA,

                       Plaintiff,
                vs.

  TED HARVEY VERNON,

                      Defendant.

  ___________________________/

  DEFENDANT’S UNOPPOSED AND JOINT MOTION FOR EXTENSION OF TIME TO
      SUBMIT PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW

  For this Motion, the Defendant TED HARVEY VERNON (“Mr. Vernon”) states:

     1. On July 10, 2019, this Court, having held an evidentiary hearing on Defendant's alleged

        violations of supervised, directed the parties to submit proposed findings of fact and

        conclusions of law by July 29, 2019.

     2. That same day, undersigned counsel transmitted the transcript order form to the court

        reporter coordinator requesting a copy of the May 24, 2019 hearing transcript.

     3. On July 16, 2019, the court reporter advised that the earliest the transcript could be

        completed would be July 24, 2019.

     4. Additionally, undersigned counsel is travelling on a family vacation from July 17, 2019

        to July 30, 2019.

     5. Although undersigned counsel has prepared an initial working draft of the anticipated

        submission, it cannot be completed without the second hearing transcript.
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     6. Based on the foregoing, the Defendant hereby requests an extension to August 9, 2019 to

         submit his proposed findings of fact and conclusions of law

     7. This motion is made in good faith and not for delay purposes.

     8. Undersigned counsel contacted AUSA Lisa Miller who does not oppose the relief

         requested herein and joins in the request for extension.

     WHEREFORE, Defendant prays this Court grant the relief requested herein.

                                               Respectfully submitted,

                                                s/ Richard J. Diaz

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                                      CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
  filed via CM/ECF and served electronically on all parties of record this 16th day of July, 2019.
                                                              s/ Richard Diaz

                                                            ______________________
                                                              Richard J. Diaz, Esq.
